       Case 2:21-cv-03591-MAK Document 37-13 Filed 04/25/22 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                 )
 ADRIAN ROSALIO REYES OVALLE;)
 JUAN MARIO REYES OVALLE;        )
 MIGUEL ANGEL REYES OVALLE; )
 LUIS MIGUEL ROQUE OVALLE;       )
 BENJAMIN RUIZ VAZQUEZ; and      )       CIVIL ACTION NO. 2:21-cv-03591
 PATRICK ULUPANO,                )
            Plaintiffs,          )
       v.                        )
 HARRIS BLACKTOPPING, INC. d.b.a.)
       HARRIS PAVING;            )
 JAMES W. HARRIS, JR.; and HARRY )A.
 HARRIS,                         )
            Defendants.          )
                                 )
                                 )
                                 )
     ORDER GRANTING PLAINTIFFS’  )   MOTION FOR PROTECTIVE ORDER
                                 )
      AND NOW, this           day of                    , 2022, upon

consideration of Plaintiffs’ Motion for Protective Order, as well as any response thereto, it is

ORDERED that Plaintiffs Benjamin Ruiz Vazquez and Juan Mario Reyes Ovalle will appear for

their deposition via remote means.



                                                      BY THE COURT:




                                                      Kearney, J.
